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1
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5    Attorney for Plaintiff,
     Christina Aceves
6

7                           UNITED STATES DISTRICT COURT
8                         CENTRAL DISTRICT OF CALIFORNIA
9                                   EASTERN DIVISION
10
                                               Case No.:
11   CHRISTINA ACEVES,                         5:15-cv-00801-PA
12                  Plaintiff,                 NOTICE OF SETTLEMENT
13           vs.
14

15
     SYNCHRONY BANK
                   Defendant.
16

17
             Plaintiff, CHRISTINA ACEVES, by and though her attorney, informs this
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     Honorable Court that Plaintiff has settled her case with Defendant, SYNCHRONY
19
     BANK. The parties are in the process of finalizing settlement, and Plaintiff
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     anticipates the settlement will be finalized in 40 days. Plaintiff respectfully
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     requests that this Honorable Court vacate all dates currently set on calendar for this
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     case.
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     ///
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                                     NOTICE OF SETTLEMENT
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     Case 5:15-cv-00801-PA-E Document 23 Filed 09/08/15 Page 2 of 2 Page ID #:109




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2    Respectfully submitted this 8th day of September, 2015,
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5                                         PRICE LAW GROUP APC

6
                                           By: /s/ Stuart M. Price
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                                   NOTICE OF SETTLEMENT
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